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    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 19-0210V
                                         UNPUBLISHED


    JEANNE TILLEY,                                            Chief Special Master Corcoran

                         Petitioner,                          Filed: March 25, 2020
    v.
                                                              Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                   Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                           Table Injury; Influenza (Flu) Vaccine;
                                                              Shoulder Injury Related to Vaccine
                        Respondent.                           Administration (SIRVA)


Harrison Whitten Long, Rawls Law Group, Richmond, VA, for petitioner.

Daniel Anthony Principato, U.S. Department of Justice, Washington, DC, for
respondent.

                                    RULING ON ENTITLEMENT 1

       On February 6, 2019, Jeanne Tilley filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a left Shoulder Injury Related to
Vaccine Administration (SIRVA) after receiving an influenza (“flu”) vaccine on October
18, 2017. Petition at 1. The case was assigned to the Special Processing Unit of the
Office of Special Masters.

       On March 9, 2020, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the ruling will be available to anyone with access to
the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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at 1. Specifically, Respondent concedes that Petitioner’s “medical course is consistent
with SIRVA as defined on the Vaccine Injury Table.” Id. at 3. Respondent further
agrees that Petitioner had no recent history of pain, inflammation, or dysfunction of her
left shoulder; her pain occurred within 48 hours after receipt of the vaccination; her pain
was limited to the shoulder where the vaccine was administered; no other condition or
abnormality has been identified to explain Petitioner’s shoulder pain; and Petitioner
suffered the residual effects of her condition for more than six months. Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Brian H. Corcoran
                                   Brian H. Corcoran
                                   Chief Special Master




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